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PRESS RELEASE

In November of 2014, as a result of continuing allegations of impropriety and/or violation
of the state ethics laws in the Marshfield Fire Department, the Board of Selectmen
initiated an independent investigation into potential violations of Mass. Gen. L. c. 268A
in the Marshfield Fire Department.

To ensure objectivity in this investigation, the Board of Selectmen engaged outside
special counsel, Mark Smith, Esq. of Laredo & Smith in Boston to oversee the
investigation of the Fire Department and directed every member of the Marshfield Fire
Department to comply fully with counsel. Attorney Smith is a former Assistant Attorney
General in the Massachusetts Attorney General’s Office where he served as Deputy Chief
of the Criminal Bureau where he supervised the Public Integrity Division, Economic
Crimes Division, Environmental Crimes Strike Force and the High Technology Crimes
Unit. In private practice, Attorney Smith concentrates in white-collar crime,
government investigations, and business litigation and regulation and actively practices
before the Massachusetts State Ethics Commission.

Over a period three (3) months, Attorney Smith and his investigative team interviewed
witnesses, analyzed documents, including memoranda, correspondence, emails,
grievances, ethics disclosures, personnel records, meeting minutes, and other documents
concerning the Fire Department.

In late February 2015, Attorney Smith presented his findings to the Board of Selectmen
and, as a result, Chief Kevin Robinson and Captain Shaun Robinson were placed on
immediate paid administrative leave while the investigation continued and the entire
matter was immediately referred over to the State Ethics Commission.

In early March 2015, now retired Chief Kevin Robinson was provided with written notice
of a disciplinary hearing that detailed the allegations against him with a summary of the
basis for the allegations. Chief Robinson, who was represented by counsel in the
matter, elected to retire rather than proceed with a hearing and collected, as was his right,
his accrued employment benefits only.

Later in March 2015 and in April 2015, Captain Shaun Robinson was provided by written
notice of a disciplinary hearing by the Acting Fire Chief, which detailed the allegations
against him. Captain Robinson, who was represented by counsel, elected to agree to a
two week unpaid suspension in lieu of a hearing.

The Selectmen’s Office will not have any further comments on these matters which are
pending at the State Ethics Commission.

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